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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9

10          PROTINGENT INC,                                  CASE NO. C20-1551 MJP

11                                 Plaintiff,                MINUTE ORDER

12                 v.

13          LISA GUSTAFSON-FEIS,

14                                 Defendant.

15

16
            The following minute order is made by the direction of the court, the Honorable Marsha
17
     J. Pechman, United States Senior District Judge:
18
            This case was stayed for the Parties to discuss settlement, but the stay expired on
19
     November 1, 2021. (Dkt. No. 34.) The Parties are directed to submit a joint status report with a
20
     proposed schedule within 10 days. If they have reached settlement, they should inform
21
     Chambers immediately.
22
            The clerk is ordered to provide copies of this order to all counsel.
23
            Filed November 23, 2021.
24


     MINUTE ORDER - 1
             Case 2:20-cv-01551-MJP Document 35 Filed 11/23/21 Page 2 of 2




 1                                        Ravi Subramanian
                                          Clerk of Court
 2
                                          s/Serge Bodnarchuk
 3                                        Deputy Clerk

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     MINUTE ORDER - 2
